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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
UNITED STATES OF AMERICA             )
                                     )
      v.                             ) Criminal Action No. 21-290 (RBW)
                                     )
JEFFREY ALEXANDER SMITH,             )
                                     )
                  Defendant.         )
____________________________________ )

                                             ORDER

       In light of the fact that the defendant has an initial appearance in another court on January

20, 2022, and in light of the Court holiday on February 21, 2022, it is hereby

       ORDERED that the Court’s January 11, 2022 Order is amended as follows:

           •   The status hearing to discuss the Pretrial Violation Report, ECF No. 27, currently

               scheduled for January 20, 2022, is CONTINUED to January 24, 2022, at 11:30

               a.m., via videoconference.

           •   The sentencing hearing currently scheduled for February 21, 2022, is

               CONTINUED to February 22, 2022, at 10:00 a.m., via videoconference.

       SO ORDERED this 13th day of January, 2022.



                                                              ________________________
                                                              REGGIE B. WALTON
                                                              United States District Judge
